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                    EXHIBIT B
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Padilla, Mayra

From:                              Moroski, Rachel J.
Sent:                              Friday, March 25, 2016 2:19 PM
To:                                seth@tillmonlaw.com
Cc:                                Westheimer, Michael N.
Subject:                           RE: Romero v. GE Betz, Inc. [ODNSS-OGL.034695.000007]
Attachments:                       GE_s Solutions ADR Procedure Rev 2010.pdf; Romero Certificate of Completion of
                                   Solutions & DRP Procedure Amendments....pdf; Solutions Procedure rev 2015.pdf


Seth,

In follow up to our conversation last Wednesday, 3/16 regarding GE’s arbitration agreement, I have attached the
following arbitration documents: (1) 2010 Solutions ADR Procedure (“Procedure”); (2) Mr. Romero’s 2010
acknowledgment of the 2010 Procedure; and (3) 2015 Solutions ADR Procedure. These documents demonstrate that
your client received the procedures governing arbitration and agreed to be bound by such procedures.

Please let us know if your client will stipulate to dismiss his court action and resolve his claims through the Solutions
Procedure’s arbitration procedures. This concludes our obligation to meet and confer under Local Rule 7-3. Absent a
stipulation, we will file our motion to compel next Friday, April 1, seven days from today per the local rule.

Best regards,
Rachel

Rachel J. Moroski | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
Steuart Tower, One Market Plaza, Suite 1300 | San Francisco, CA 94105 | Telephone: 415-536-3405 | Fax: 415-442-4870
rachel.moroski@ogletreedeakins.com | www.ogletreedeakins.com | Bio



From: Moroski, Rachel J.
Sent: Tuesday, March 08, 2016 2:13 PM
To: 'seth@tillmonlaw.com'
Cc: Westheimer, Michael N.
Subject: Romero v. GE Betz, Inc. [ODNSS-OGL.034695.000007]

Dear Mr. Tillmon,

We represent GE Betz, Inc. in the lawsuit filed by your client, Robert Romero. As you may know, Mr. Romero’s
employment was subject to the Company’s Solutions Alternative Dispute Resolution Procedure which requires, among
other things, that this dispute be resolved by binding arbitration in lieu of proceeding in court. Accordingly, arbitration
is the proper forum for Mr. Romero’s claims. I have attached the arbitration agreement for your review.

Please let us know if your client will stipulate to dismiss his court action and resolve his claims through the Solutions
policy’s arbitration procedures. Otherwise we are contemplating having to file a motion to compel arbitration. Pursuant
to the Court’s Local Rule 7-3, we are contacting you to discuss the substance of the contemplated motion and any
potential resolution. Please let us know when you are available for a phone call to discuss this further.

Best regards,

Rachel Moroski

                                                             1
                                                                                                       Exhibit B
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